Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 1 of 9 Page ID
                                #:42868


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      Plaintiffs’ Co-Lead Counsel
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 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668−PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                               PLAINTIFFS’ MOTION IN LIMINE
 17   THIS DOCUMENT RELATES TO                 NO. 4 PRECLUDING EVIDENCE
      ALL ACTIONS                              AND ARGUMENTS REGARDING
 18                                            BACKGROUND OF THIS
                                               LITIGATION
 19
                                               JUDGE: Hon. Philip S. Gutierrez
 20                                            DATE: February 7, 2024
                                               TIME: 2:30 p.m.
 21                                            COURTROOM:
                                                First Street Courthouse
 22                                             350 West 1st Street
                                                Courtroom 6A
 23                                             Los Angeles, CA 90012
 24

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Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 2 of 9 Page ID
                                #:42869


  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2           The residential and commercial classes (hereinafter “Plaintiffs”) respectfully
  3   request that this Court exclude certain evidence from trial pursuant to Federal Rules
  4   of Evidence 401, 402, and 403, and the other authorities cited herein. In particular,
  5   Plaintiffs seek to preclude the NFL Defendants from presenting evidence, seeking to
  6   elicit any testimony, or making any argument regarding (1) how Plaintiffs became
  7   involved in this litigation and their motivation for bringing this lawsuit, Plaintiffs’
  8   relationship with their attorneys, and any reference to the litigation as being
  9   “attorney-driven” or motivated by attorneys; and (2) that the challenged conduct has
 10   been occurring for years prior to Plaintiffs filing this case to imply that the alleged
 11   restraints have been rendered legal by the passage of time in bringing suit.
 12   I.      ARGUMENT
 13           A.     Legal Standard
 14           Evidence is relevant if “it has any tendency to make a fact more or less
 15   probable than it would be without the evidence,” and “the fact is of consequence in
 16   determining the action.” Fed. R. Evid. 401. Evidence that is not relevant is not
 17   admissible. Fed. R. Evid. 402. Even if evidence is relevant, the district court has
 18   broad discretion to exclude such evidence where “its probative value is substantially
 19   outweighed by a danger of one or more of the following: unfair prejudice, confusing
 20   the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
 21   cumulative evidence.” Fed. R. Evid. 403; Hardeman v. Monsanto Co., 997 F.3d 941,
 22   967 (9th Cir. 2021), cert. denied, 142 S. Ct. 2834 (2022). “[U]nfairly prejudicial
 23   evidence is that having ‘an undue tendency to suggest decision on an improper basis,
 24   commonly, though not necessarily, an emotional one.’” United States v. Gonzalez-
 25   Flores, 418 F.3d 1093, 1098 (9th Cir. 2005) (quoting Old Chief v. United States, 519
 26   U.S. 172, 180 (1997)).
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                                                 1
           PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                     BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 3 of 9 Page ID
                                #:42870


  1         B.     The Court Should Preclude Evidence or Argument Regarding How
                   Plaintiffs Became Involved in This Litigation, Their Motivation for
  2                Bringing Suit, And Their Relationship with Their Attorneys
  3         Any evidence or argument concerning the origins of Plaintiffs’ involvement in
  4   this litigation, their motivation for bringing this litigation, or their relationship with
  5   their attorneys, is irrelevant to the disposition of their claims and poses a substantial
  6   risk of unfair prejudice. Simply put, “[h]ow Plaintiffs became involved in the
  7   litigation, the extent of Plaintiffs’ employees’ knowledge of the details of
  8   [Defendants’] alleged price-fixing conspiracy, and who ‘drove’ the litigation do not
  9   tend to prove or disprove” an antitrust violation. In re Urethane Antitrust Litig., No.
 10   2:08-cv-5169, 2016 WL 475339, at *7 (D.N.J. Feb. 8, 2016) (“In re Urethane”); see
 11   also Bowe v. Pub. Storage, No. 1:14-cv-21559, 2015 WL 10857339, at *5 (S.D. Fla.
 12   June 2, 2015) (“Bowe”) (probing “[h]ow [plaintiff] came to be the class
 13   representative ... do[es] not have any tendency to make a fact relevant to Plaintiffs’
 14   [consumer fraud] claim more or less probable” and such “evidence is also not
 15   relevant to his credibility as it does not tend to prove that [plaintiff] is biased or
 16   untrustworthy”).
 17         Plaintiffs allege that the NFL Defendants violated the federal antitrust laws.
 18   How Plaintiffs became involved in this litigation, their motivation for bringing suit,
 19   or their relationship with their attorneys have no bearing on whether the NFL
 20   Defendants’ “conduct [] violated the Sherman Act.” In re Urethane, 2016 WL
 21   475339, at *7. Courts in the Ninth Circuit consistently bar attempts by defendants to
 22   introduce this type of evidence. See, e.g., Montera v. Premier Nutrition Corp., No.
 23   16-cv-06980, 2022 WL 1465044, at *1 (N.D. Cal. May 9, 2022) (granting motion in
 24   limine precluding evidence regarding the manner plaintiffs became involved in the
 25   case, reference that the case is “lawyer-driven,” and evidence or argument regarding
 26   the attorney’s motivation.); Bowe, 2015 WL 10857339, at *5 (excluding such
 27   evidence); In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-md-1827, 2012 WL
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        PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                  BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 4 of 9 Page ID
                                #:42871


  1   12300696, at *2 (N.D. Cal. May 4, 2012) (excluding “references to relationship
  2   between named plaintiff and counsel”).
  3         Introducing evidence about Plaintiffs’ involvement in and motivation for this
  4   litigation, or their relationship with their attorneys, would also be unfairly prejudicial
  5   as it “carries a great risk that the jury will become distracted from the key issues in
  6   the case and decide the case on improper grounds (such as a sense that Plaintiffs were
  7   manipulated into filing suit by lawyers looking to profit from a big class action
  8   lawsuit).” In re Urethane, 2016 WL 475339, at *7 (citing Fed. R. Evid. 403); see
  9   also United States v. Ellis, 147 F.3d 1131, 1135 (9th Cir. 1998) (“Unfair prejudice
 10   refers to an undue tendency to suggest decision on an improper basis, commonly,
 11   though not necessarily, an emotional one or evidence designed to elicit a response
 12   from the jurors that is not justified by the evidence.”) (citation and internal quotation
 13   marks omitted). The NFL Defendants have previewed that they may seek to elicit
 14   such testimony. See Maida Decl. Ex. 1 (Jonathan Frantz Dep.) 9:8-12:20 (questioning
 15   surrounding Mr. Frantz’s involvement in the case, including discussions with
 16   attorneys and whether he became involved due to conversations with attorneys);
 17   Maida Decl. Ex. 2 (Mucky Duck Dep.) 18:17-20:20 (eliciting whether anyone told
 18   Mr. Baker that Mucky Duck should file the lawsuit and whether it was the attorneys
 19   that inquired if Mr. Baker wanted to be involved in the case).
 20         Courts routinely exclude such evidence as irrelevant and unfairly prejudicial.
 21   See In re: Tylenol (Acetaminophen) Mktg., MDL No. 2436, 2016 WL 3125428, at
 22   *5-6, *17 (E.D. Pa. June 3, 2016) (granting similar motions in limine because such
 23   “evidence is irrelevant to the issues of this case and would be unduly prejudicial”);
 24   In re Yasmin & Yaz (Drospirenone) Mktg., Sales Pracs. & PMF Prod. Liab. Litig.,
 25   No. 3:09-md-2100, 2011 WL 6740391, at *16 (S.D. Ill. Dec. 22, 2011) (granting
 26   motion in limine to exclude “[a]ny comment, evidence, testimony, or inference about
 27   how, when, or under what circumstances Plaintiff chose or employed any of her
 28   attorneys” as such evidence is irrelevant and unfairly prejudicial). Courts likewise
                                                  3
        PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                  BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 5 of 9 Page ID
                                #:42872


  1   forbid extraneous attacks on plaintiffs’ counsel, which can only distract from the trial
  2   and cause unfair prejudice. See Stollings v. Ryobi Techs., Inc., 725 F.3d 753, 761 (7th
  3   Cir. 2013) (finding in a products liability case, “argument aimed at a party’s counsel
  4   is improper and risks depriving the party of a fair trial”); United States v. Rodrigues,
  5   159 F.3d 439, 451 (9th Cir. 1998) (finding in a bribery and fraud matter, “slander”
  6   of opposing counsel was “prejudicial to the point of denying … a fair trial”), opinion
  7   amended on denial of reh’g, 170 F.3d 881 (9th Cir. 1999); Koufakis v. Carvel, 425
  8   F.2d 892, 904-05 & n.16 (2d Cir. 1970) (breach of franchise case, finding remanding
  9   for new trial warranted in part because of attacks on opposing counsel).
 10          C.      The Court Should Preclude Evidence or Argument That the
                     Challenged Conduct is Longstanding, or Went Unchallenged Until
 11
                     Recently, to Imply Legality
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             The Court should also preclude the NFL Defendants from attempting to imply,
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      or create any inference, that because the challenged conduct has been occurring for a
 14
      number of years and was not again challenged until Plaintiffs filed this case, it is, or
 15
      was, legal.1
 16
             Suggesting that the length of time over which the challenged conduct has been
 17
      occurring without challenge in an attempt to inject an inference of legality in the
 18
      jury’s mind is improper. Again, Plaintiffs allege that the NFL Defendants have
 19
      violated, and continue to violate, Sections 1 and 2 of the Sherman Act. 15 U.S.C.
 20
      §§ 1, 2. Any suggestion that the challenged conduct predates that time period,
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      without earlier challenge, does not tend to make any fact of consequence to the claims
 22
      or defenses more or less probable. Fed. R. Evid. 401. That Plaintiffs brought suit
 23
      when they did does not somehow make the challenged conduct lawful before that
 24

 25   1
       In fact, the pooling of telecast rights and contractual arrangements that gave rise to
 26   Sunday Ticket were previously challenged as an antitrust violation. Shaw v. Dallas
      Cowboys Football Club, Ltd., 172 F.3d 299, 300 (3d Cir. 1999). Any attempt to
 27   now suggest that those restraints are lawful due to the passage of time because they
 28   have not been challenged before is unsound, both legally and factually.
                                                 4
          PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                    BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 6 of 9 Page ID
                                #:42873


  1   date. See Nat'l Collegiate Athletic Ass'n v. Alston, 141 S. Ct. 2141, 2148 (2021)
  2   (finding that the NCAA’s rules, some of which date back tens of years, violated the
  3   antitrust laws); Am. Needle, Inc. v. Nat'l Football League, 560 U.S. 183, 198 (2010)
  4   (“It is true, as respondents describe, that they have for some time marketed their
  5   trademarks jointly. But a history of concerted activity does not immunize conduct
  6   from § 1 scrutiny.”); United States v. Sealy, Inc., 388 U.S. 350, 351 (1967) (the
  7   defendants’ horizontal market allocation had been in place for more than 40 years
  8   when the Supreme Court ruled it violated the Sherman Act).
  9         Moreover, the challenged conduct here is actionable even though it began
 10   many years before Plaintiffs sued given the continuing nature of the restraints. The
 11   challenged time period in this suit is governed by the Clayton Act’s statute of
 12   limitations. 15 U.S.C. § 15b. The continuing violations doctrine functions as an
 13   exception to the discovery rule of accrual “allowing a plaintiff to seek relief for events
 14   outside of the limitations period.” Knox v. Davis, 260 F.3d 1009, 1013 (9th Cir.
 15   2001); see also Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (“Antitrust law
 16   provides that, in the case of a continuing violation, say, a price–fixing conspiracy that
 17   brings about a series of unlawfully high priced sales over a period of years, each overt
 18   act that is part of the violation and that injures the plaintiff, e.g., each sale to the
 19   plaintiff, starts the statutory period running again, regardless of the plaintiff's
 20   knowledge of the alleged illegality at much earlier times.”) (internal quotation marks
 21   omitted); Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321, 338 (1971) (“In
 22   the context of a continuing conspiracy to violate the antitrust laws, … each time a
 23   plaintiff is injured by an act of the defendants a cause of action accrues to him to
 24   recover the damages caused by that act and that, as to those damages, the statute of
 25   limitations runs from the commission of the act.”). Here, the fact that Plaintiffs chose
 26   to sue when they did is of no consequence. The alleged restraints constitute a
 27   continuing violation that is actionable even though the restraints began years before
 28   Plaintiffs brought this case. The NFL Defendants cannot imply in any way that their
                                                  5
        PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                  BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 7 of 9 Page ID
                                #:42874


  1   conduct is, or was, legal simply because it went unchallenged for some time before
  2   this case.
  3          Furthermore, any such evidence or argument is highly prejudicial, would
  4   confuse the jury, and potentially lead the jury to decide the case on improper grounds.
  5   See Fed. R. Evid. 403. “In general, the Court prohibits counsel and the witnesses
  6   from making any comment about the length of time that it took to get to trial.” Pryor
  7   v. Corrigan, No. 17-cv-1968, 2023 WL 1100436, at *23 (N.D. Ill. Jan. 30, 2023)
  8   (granting motion in limine in a Fourth Amendment claim prohibiting defendants from
  9   blaming plaintiff for the passage of time between the incident and trial); see also
 10   Bunch v. Pac. Cycle, Inc., No. 4:13-cv-0036, 2015 WL 11622954, at *7 (N.D. Ga.
 11   Apr. 27, 2015) (finding irrelevant “the length of time between the accident and the
 12   filing of this action”). There is no place at trial for the suggestion that Plaintiffs should
 13   have brought their claims earlier—or the implication that the very same conduct is,
 14   or was, lawful because it went unchallenged.
 15 II.      CONCLUSION
 16          For the foregoing reasons, Plaintiffs respectfully request that the Court grant
 17   their motion in limine and preclude the NFL Defendants from presenting evidence or
 18   seeking to elicit any testimony or make any argument regarding (1) how Plaintiffs
 19   became involved in this litigation and their motivation for bringing this lawsuit,
 20   Plaintiffs’ relationship with their attorneys, and any reference to the litigation as
 21   being “attorney-driven” or motivated by attorneys; and (2) that the challenged
 22   conduct has been occurring for years prior to Plaintiffs filing this case to imply that
 23   the alleged restraints have been rendered legal by the passage of time in bringing suit.
 24

 25   Dated: January 5, 2024                    Respectfully submitted,
 26

 27                                             By: /s/ Marc M. Seltzer

 28                                             Marc M. Seltzer (54534)
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          PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                    BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 8 of 9 Page ID
                                #:42875


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       PLAINTIFFS’ MOTION IN LIMINE NO. 4 PRECLUDING EVIDENCE AND ARGUMENTS REGARDING
                                 BACKGROUND OF THIS LITIGATION
Case 2:15-ml-02668-PSG-SK Document 1113-1 Filed 01/05/24 Page 9 of 9 Page ID
                                #:42876

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